                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI
                                 SOUTHWESTERN DIVISION


                                 JUDGMENT IN A CIVIL CASE


GREATER MISSOURI MEDICAL                           )
PRO-CARE PROVIDERS, INC.                           )
                                                   )
                                                   )
        vs.                                        )      Case No. 14-5028-CV-SW-MDH
                                                   )
THOMAS E. PEREZ, sued in his                       )
Official capacity, Secretary, et al.               )
                                                   )

        Jury Verdict.         This action came before the Court for a trial by jury. The issues
        have been tried and the jury has rendered its verdict.

X       Decision by Court. This action came to determination before the Court. The issues have
        been determined and a decision has been rendered.

IT IS ORDERED AND ADJUDGED the Court vacates all findings of violations and resulting
awards against Greater Missouri Medical. Judgement is entered in favor of Plaintiff and against
Defendants.

IT IS SO ORDERED.


 May 26, 2016                           Paige Wymore-Wynn
Date                                        Clerk of Court


Entered on May 24, 2016                s/Linda Howard
                                                 (By) Deputy Clerk




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